                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


TOM SAFFELL,                                   )
                                               )
        Plaintiff,                             )
                                               )
vs.                                            )    No. 3:16-cv-02795
                                               )    Judge Crenshaw
WRIGHT NATIONAL FLOOD                          )    Magistrate Judge Newbern
INSURANCE COMPANY and                          )
FARMERS INSURANCE                              )
EXCHANGE,                                      )
                                               )
        Defendants.                            )


                                  NOTICE OF SETTLEMENT

        Notice is hereby given that all claims in this action have been fully compromised and

settled by the parties. It is anticipated that a proposed Order of Dismissal will be submitted to

the Court for entry within thirty (30) days.

        Dated: November 16, 2017.



                               Respectfully submitted,


                               By:    /s/ Nathan Colburn ______
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      Case 3:16-cv-02795 Document 40 Filed 11/16/17 Page 1 of 3 PageID #: 170
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                                    2

Case 3:16-cv-02795 Document 40 Filed 11/16/17 Page 2 of 3 PageID #: 171
                             CERTIFICATE OF SERVICE

        I hereby certify that, on the 16th day of November, 2017, this Notice of Settlement was
filed electronically with the Clerk of the Court, using the CM/ECF system which will send
notification of such filing to the following:

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                                           /s/ David J. Pflaum
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                                              3

    Case 3:16-cv-02795 Document 40 Filed 11/16/17 Page 3 of 3 PageID #: 172
